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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: PROCESSED EGG PRODUCTS
ANTITRUST LITIGATION                                          MULTIDISTRICT LITIGATION



THIS DOCUMENT APPLIES TO ALL                                  No. 08-md-2002
DIRECT PURCHASER ACTIONS


                                         ORDER

       AND NOW, this 10th day of October, 2014, upon consideration of the Direct Purchaser
Plaintiffs' Motion for an Award of Attorneys' Fees and for Reimbursement of Expenses (Docket
No. 999), as well as the supporting Memorandum and exhibits, and the Amended Declaration of
                                                           "'
Mindee J. Reuben in Support of the Direct Purchaser Plaintiffs' Motion for an Award of
Attorneys' Fees and For Reimbursement of Expenses (Docket No. 1046), and following the
September 4, 2014 hearing on the Motion, the Court hereby ORDERS that-

       1.     Counsel for the Direct Purchaser Plaintiffs are awarded attorneys' fees in the
              amount of $8,400,000, with accrued interest.
       2.     Counsel for the Direct Purchaser Plaintiffs are awarded reimbursement of
              expenses in the amount of $1,043,551.07, with accrued interest.
       3.     Interim Co-Lead Counsel are responsible for allocating and distributing attorneys'
              fees and expenses among counsel for the Direct Purchaser Plaintiffs.
       4.     The Court retains jurisdiction over the Cal-Maine Settlement Agreement to
              include resolution of any matters which may arise related to the allocation and
              distribution of attorneys' fees and expenses.




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